       Case 2:23-cv-01819-MTL Document 15-2 Filed 09/13/23 Page 1 of 1



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 6                               UNITED STATES DISTRICT COURT

 7                                    DISTRICT OF ARIZONA

 8   Wavve Americas, Inc., a Delaware                  Case No. 2:23-cv-01819-MTL
     corporation,
 9                                                     ORDER
                        Plaintiff,
10
              vs.
11
     Unknown Registrant Of Kokoatv.Net;
12   Unknown Registrant Of Kokoa.Tv; And
     Unknown Registrant Of Vidground.Com,
13
                        Defendants.
14

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16            The Court having reviewed the briefing on Plaintiff’s Motion for Leave to Serve

17   Defendant by Alternative Means and good cause appearing, therefore;
18
              IT IS SO ORDERED that Plaintiff’s Motion for Alternative Service is granted; and
19
              IT IS FURTHER ORDERED that Plaintiff may serve Defendant Tumi Max via
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21   email pursuant to Fed. Rule Civ. Proc. 4(f)(3).

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